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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                          :
                                                   :
v.                                                 :
                                                   :        Case No. 1:23-mj-48
JAY KENYON,                                        :
                          Defendant.               :
________________________________________           :



                          MOTION TO WITHDRAW AS COUNSEL

       Abigail M. Thibeault, Assistant Federal Public Defender, requests approval to withdraw

as counsel of record for Defendant Jay Kenyon and states:

       1.       Counsel seeks to withdraw as counsel of record for Mr. Kenyon because he has

requested that William Shipley represent him instead. Mr. Shipley appeared in this case on

March 11, 2023. ECF No. 8.

       WHEREFORE, Counsel requests that the Court enter an order authorizing Counsel to

withdraw as counsel of record for Mr. Kenyon and for such further relief as the Court deems

appropriate.

                                           Respectfully submitted,

                                           /s/Abigail M. Thibeault
                                           Abigail M. Thibeault
                                           Assistant Federal Public Defender
                                           Maryland Atty ID 1803010004

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                                  CERTIFICATE OF SERVICE

       I hereby certify that on March 14, 2023, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF system which will send notification of such filing to counsel of record.

                                             /s/Abigail M. Thibeault
                                             Assistant Federal Public Defender
